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                         EXHIBIT C
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     LETTERS FROM FAMILY AND FRIENDS


Megan Blevins
Ruth Bray
Amy Davis
Becky Hale
Robert Hale
Sarah Jones
Sonia Kennebeck
Noor Mir
Jesselyn Radack
Janet Tran
Brad White
Jessica Bass
Jon and Linda Darnell
Cynthia George
Tanner Jacobs
Kaylan Kennedy
Subin Kim
Stuart Roche
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Honorable Liam O’Grady
U.S. District Judge


Dear Judge O’Grady:
       My name is Amy Davis, and I am a professor of English at King University in Bristol, TN. I have
known Daniel Hale through mutual friends since approximately 2010, and we were roommates from June to
December 2013. Daniel moved in with me shortly after he returned home from his time in the Air Force. He is a
beloved friend and valued member of my community.
        When Daniel cares about and commits to a cause, community, or friendship, he does so wholeheartedly.
I did not know him well when he moved in with me, but over the course of our short time living together, he
became a dear friend and trusted confidant. Daniel lived with me during my last semester of graduate school,
which was naturally a busy and stressful season. During a time when I constantly felt like I was drowning,
Daniel made sure our apartment was clean, the cat was taken care of, and I had something to eat. He is
extremely thoughtful and observant of other people’s needs. He kept himself up on my hectic schedule and
checked in with me via text on long days. He stayed up later than me, but I would regularly wake up to a ready-
made breakfast, packed lunch, or a batch of cookies. He is an excellent cook, even if he was a vegetarian at the
time.
         When he lived with me, Daniel began speaking out about his experiences in Afghanistan. He spoke
about it privately to me and his other friends, as well as at events in our town, in DC, and elsewhere. Especially
in those early days, he poured all his energy into taking his experiences in the Air Force and turning them into a
story that he could share with people. Narrativization like this is fundamental to the healing process for many
people, and it was clear that telling his story had a healing effect on Daniel. He did not center himself in the
telling, but rather on the people he saw affected by injustice. In his book on trauma, The Body Keeps The Score,
Bessel Van Der Kolk says, “As long as you keep secrets and suppress information, you are fundamentally at
war with yourself…The critical issue is allowing yourself to know what you know. That takes an enormous
amount of courage.” By telling his story and naming the injustice he saw, Daniel was healing himself as well as
feverishly trying to help others. It took an enormous amount of courage.
        Daniel is no stranger to trauma. His childhood was one of abuse and neglect, and as a teenager he
bounced around, sleeping on friends’ couches. He has not had the benefit of a support system or the freedom
and confidence that come from having a family that you can rely on. Daniel shared with me that his parents
were dedicated members of Emmanuel Baptist Church, and Daniel was made to attend church with them and
participate in the church community. Being forced to attend a fundamentalist church can be traumatic and
disorienting enough, but at this church, Joseph Combs was the pastor. Joseph and his wife, Evangeline, made
national headlines for taking an infant girl, enslaving her, raping her, beating her, and abusing her in every way
imaginable for 20 years. I remembered watching the story on the news before I met Daniel or moved to Bristol,
and the story stuck with me. Daniel grew up with Elsa Garcia. A major authority figure in his young life was an
enslaver and a rapist. Growing up in this environment led Daniel to mistrust institutions and authority, and to
seek out and expose injustice. He finds no comfort in tradition because to him, tradition exists to exploit the
innocent.
       While he lived with me, Daniel told his story about his experiences in the Air Force, and he was also a
passionate advocate and activist for women’s rights. Along with a few others, he began a group called Pro-
Choice Bristol after seeing women yelled at and mistreated by protesters as they entered the Bristol Regional
Women’s Clinic. He gathered support within the community, made blinds and signs, and acted as a buffer
between the protesters and the women as they walked into the clinic. Daniel speaks up for the marginalized and
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is driven to stand up to injustice. He didn’t have to do any of this—none of it affected him personally, but he
spent a great deal of time and money on this activism. He is one of the only people I’ve ever met who truly lives
the words of Maya Angelou: “No one of us can be free until everybody is free.”
        Like many poor kids with no options and no family support, Daniel turned to the military to create a
path for himself and because he felt like he had no other options. What he found there was only more injustice,
more abuse of power, more innocent lives destroyed. The military has a long lineage of eating its young, and
Daniel is no different. But instead of turning in on himself, as so many veterans do, with substance abuse, self-
harm, and suicide, Daniel took his experiences and had the courage to call out injustice. He saw the drone
program as injustice—as more lives being stolen in the darkness—and he couldn’t stand for it. Daniel knew the
risks of saying too much or sharing classified documents, but he acted as he felt he had to if it would save
innocent lives. For Daniel, speaking up is the only option. Some would like to pathologize this dedication and
try to discredit him, but what he has is a rare and amazing power. It’s an old story: a man whose mission is to
stand up to injustice quickly finds himself the victim of injustice.
        Daniel’s mental health is a consistent topic of discussion among his friends. Daniel has shown clear
signs of PTSD since I have known him. His years under investigation have taken away any hope he had to find
safety in community and live a normal life. When we talk about Daniel’s mental health, we are not talking of
weakness. We are talking about the immense power of the human spirit to speak truth and prevail in the
bleakest of circumstances. My husband and I have discussed Daniel’s situation and his future frequently and at
length. We are wholly agreed that should he want, and when he is free, he is welcome to be part of our home
and our family. While he is not free, he is still family to us, and we will help him however we can.
        I’m not an activist. My life and my politics are not extreme. I’m a teacher in a small town, and my reach
is small. Daniel’s path and mine are very different. The life he has lived has been harsher than most, and it is the
source of his trouble but also his power. Daniel is a truth-teller. Our community and our country need people
like him. I am honored to know him.
       I respectfully ask for leniency in Daniel’s case.


       Sincerely,


       Amy Davis
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6/18/2021



To:     To the Honorable Liam O’Grady
        U.S. District Judge

From: Robert E Hale

        Bristol, VA 24201-4085

Regarding: Daniel E Hale


Honorable Sir,

         Daniel is my first-born, my son. I probably do not need to tell the court of this significance to me.
He has a smile that can light up a room. Daniel turned out to be an introvert however his early childhood
did not indicate that this would be his character.



                                             Until the last ten years we have always been fairly under
middle class. I had been an ordained Christian minister called to the trucking industry.

         I retired from that position the day that I was led to go team trucking with my brother at the age
of 50 years. I am 59 now, my brother retired when I was 58. Ten months later my new partner wreck us
on June 27, 2020, and I am home now on workman’s compensation and in application for Social Security
disability.

         I said all of this to try to explain to the court that Daniel’s attitude towards injustice to be based
in Christian values weather he acknowledges it are not.

         Your honor I was wondrously and gloriously saved in Marine Corps Boot Camp in San Diego, CA
in 1979. I then asked to be placed in a conscientious objector’s position for which they refused even
though I had overachieved on the entrance exam. Upon acceptance, they wanted me to go to officer’s
training but I needed a place to stay. I am not a conscientious objector now, however like Daniel I would
have great tribulations over the killing of innocent non-combative population. I was given a General
Discharge under Honorable conditions due to my faith and Congressman Bill Wampler in 1981.

         Daniel has always been intelligent with a big heart. At the age of 13, I gave him a Rubik’s cube.
He solved it in around 30 minutes! I knew then he was far above anything I had as far as brains. Daniel
was bullied a lot in grade school due to his intelligence and our poverty, He was accepted to a private
school called Sullians Academy. Daniel did not finish there. He was dismissed after threating some of the
bullies in the sixth grade, if I am remembering correctly. He then entered public school.
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        This caused Daniel to become even more introverted. About this time, I got us our first
computer, Daniel was a natural. Between martial arts and the computer, I thought that maybe we were
on the right path. Also, his grandmother had gotten Daniel into private art classes, and he won some
awards, but Daniel never perused it, probably due to my wrong discouragement. (One of my many
parenting malfunctions!).




        Daniel achieved his Life Scout bandage. In this I again goofed as a parent. He had been a part of
a troop at the Methodist church. We had just recently joined a Baptist church across town. I made him
switch troops to the one at the Baptist church. (Yet another mistake) Daniel was greatly bullied by the
Deacons children which greatly accumulated his mental stress & trauma. Piety can be such a bad thing.

        If the FBI had interviewed my wife and I before accepting Daniel into the intelligence field of the
Airforce, I do not know that they would have put him into the drone program. Last I talked to Daniel, the
day before he left to Afghanistan, Daniel was working at a military dentist office and he told me that he
was going to work in a listening station in Afghanistan. He has studied Mandarin Chinese in the military
school so while I did not understand I took it well. I have not heard his voice since. However, God did
answer my prayer and let me see him on State St. here in Bristol, but he never stopped by or called.
Breaks my heart,

         I guess I do not know my own son, or at least, he does not care to know me anymore. But
maybe one day that will change. I hope it is before I pass on. I have waited to the last day to address this
letter to you because my heart pain is almost as great as my physical pain in writing this letter. The
worst of this is Daniel is missing the rearing of his nephew S     and his baby sisters, nieces E     &
E     These were birthed by Daniel’s baby sister, Ruth & her husband Brandon Bray.

        Your honor even intelligent people can get fooled. I do not know this to be true or false, but
somehow, I believe that Daniel may have been misled down a path to this court. In some way, Daniel
was led to believe that the track to “whistleblowing” was via this media organization. While getting the
message out did happen, none of the “whistleblowing” protections were available, therefore tricked,
and now he has to pay for it.

       I do not know if this letter will affect your decision, but I hope that it will, and that mercy and
grace will rule through you in this heavy decision.



                                                  Sincerely,



                                                  Robert E Hale
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Your Honor,

My name is Sarah Jones, and I’m a senior writer for New York Magazine. I’ve been friends with
Daniel Hale since 2013, not long after he’d left the Air Force. When we first met, I’d had an idea.
I wanted to help the local women’s clinic by escorting patients who would otherwise have to face
a gauntlet of local protesters. Daniel was one of the first people who agreed to help. Helping
came naturally to him, it seemed. I can’t drive because of a medical condition, so he’d ferry me
around in his car and we’d talk about everything. Politics, our mutual friends, our upbringings in
the rural outlands of Bristol. He was a dedicated and reliable volunteer, and a reassuring and
thoughtful presence to all who encountered him.

All I really knew then was Bristol, and the people in it. My limited time outside the hills that
sheltered Daniel and I as children had not gone according to plan. Daniel and I had that in
common. It’s hard to leave Bristol. The area is poor, and opportunities are few. Yet we’d both
been eager to leave home, to do something, to find out who we were going to be. The answer
eluded us both, I think, even in 2013 when we were both in our mid-twenties. The world seemed
much smaller to me then, and Daniel was such a big part of it. We were restless, and
ideological, and we wanted so desperately to do the right thing with ourselves. We’d argue,
sometimes, but we always stayed friends. He’d get in touch over the years just to tell me he was
proud of me. I treasure each message, and not just because they were kind words from a friend.
They were proof of life.

In 2013 I learned another thing about Daniel. He appeared to be suffering, and in my naivety I
couldn’t quite figure out why. I assumed it had something to do with his military service, that
maybe it was a form of post-traumatic stress. He was obviously conflicted about his time in the
Air Force, and was upset at what he’d been asked to do. He could be depressed, and angry
with himself; it was as if by fighting for other people he could put something right within his own
person. Years later I came to understand him a little better. My fiance is a former U.S. Marine
who deployed to Iraq. He served this country honorably, but he, too, is conflicted about his
service. He is not at peace with what he was asked to do. He was never in a position to do what
Daniel did; I will not have to write a letter like this on his behalf. But I can see a semblance of
Daniel in him, too.

Daniel committed a crime. I don’t deny it. But when you sentence him, I ask you to consider
what twenty years of war does to the men and women who fight it. Some injuries go unseen.
They are moral as well as physical. Recovery is long, and it is fraught, and sometimes it may
not be entirely possible. I ask you to think about what it must be like to live with this kind of injury
and then with the threat of incarceration, for years. That kind of life isn’t prison but it’s not
freedom, either. I am afraid for my friend and believe that extended time behind bars will be
catastrophic for his mental health. He is not violent. He is one of the most empathetic individuals
I have ever known, and he will make the most of another chance at life.

I am asking for mercy. Thank you for your time.

Sincerely,

Sarah Jones
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Honorable Liam O’Grady
U.S. District Judge

Dear Judge O’Grady,

My name is Noor Mir, and I have known Daniel Everette Hale since 2013. We have a deep and
true friendship, and he has been an integral part of my life and my social circle ever since we
were introduced. I live in Washington, DC with my husband, who is also a close friend of
Daniel’s; I am an immigrant from Pakistan, where my parents and my family still reside
permanently. I own a consulting firm, where I work on matters pertaining to women’s rights, the
environment and immigration.

For the 7 years that I have known Daniel, he has been a compassionate, caring and reliable friend
who has always tried his very best to do the right thing. When I first met Daniel, he had just
joined the veteran activist community, where he worked hard as a volunteer to connect with
younger veterans in the DC area that, like him, had their whole lives ahead of him and needed
emotional and material support to get back on their feet. He cared immensely about making sure
that they were fed, clothed and housed, but also that they felt loved and cared for.

Daniel’s spirit of giving back, even when he had very little, has not wavered over the years. From
Nashville, he wrote to me about volunteering with refugees at a local church. In DC last year, he
quickly became friends with the homeless community at the train station near his house, splitting
his groceries, bringing them water and providing them with sanitary supplies, even after he had a
tragic bicycle accident that left him unemployed, and he had little to nothing to spare. When he
was working at a Mexican restaurant in Northern Virginia last fall, he stood up for his fellow
employee who was being unfairly treated by their supervisor. If Daniel ever stayed over a night
at a friend’s, you could count on a gourmet meal, or waking up to him cleaning and organizing
everything in sight. And if he ever owed you anything, whether it was a meal, or Just a quarter,
he would always give it back as soon as he could. Anyone who knows Daniel can name a time
where he has set an example for the rest of us.

Daniel always chooses to do what he believes is the right thing, even if it is at the expense of his
own comfort. To me and other Pakistanis, Yemenis and Afghani young professionals in the US
that have been closely following Daniel’s case, he is a brave man who took great risk to do what
was correct. We come from countries where speaking the truth is nearly impossible to do. The
American tradition of honoring brave truth-telling is one that immigrants admire, and that we
believe Daniel exemplifies. As his friend, I worry deeply about him if he continues to be
incarcerated. In the outside world, Daniel has a community of caring friends that will continue to
ensure that he is on the right path, one where he is employed again, healthy, and intellectually
stimulated. I know that I myself can commit to being by his side for the years to come, ensuring
his safety and stability.

Sincerely,
Noor Mir
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                                         WHISPeR
                                         Whistleblower & Source Protection
                                         Program


                                         Washington, DC 20006
                                         https://exposefacts.org/whisper




   Honorable Liam O’Grady
   U.S. District Judge

   Dear Judge O’Grady:

   I am an attorney who met Daniel Hale in 2014 after search warrants were
   executed at his residence. At that time, attorney Abbe Lowell and I both
   represented him. During the subsequent five years, there appeared to be no
   activity in the case.
   When Daniel was indicted and charged in May 2019, he was living in
   Tennessee. He stayed with my family in July 2019, and moved in with us
   from September through December 2019. During that time, he suffered from
   extreme anxiety, depression, PTSD, and suicidal ideation. This caused him
   to self-isolate. He barely left his room, did not eat, did not interact with
   others, and had insomnia and erratic sleep patterns. Despite these crushing
   burdens, Daniel worked multiple jobs, cooked meals for our family, and
   attended to assorted neighborhood pets. When he did interact with us, Daniel
   was polite, helpful, kind to my kids, and respectful of our household.

   Since he moved out, Daniel continued to deteriorate. He became emaciated.
   He quit shaving and appeared disheveled. On the telephone, he would speak
   in a weak, monotone whisper. His dread seemed all-consuming. A number
   of his friends staged an “intervention” to let him know he was not alone, and
   urge him to get Veterans disability benefits. A mutual friend, Lisa Ling,
   drove here from California to do his paperwork because he was so paralyzed
   physically, cognitively, and emotionally.

   Like the dozen other U.S. drone program whistleblowers I represent, Daniel
   was crippled by moral guilt from his participation in targeted assassinations,
   which he considered to be violations of international law and human rights


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   obligations. In the award-winning documentary “National Bird,” Daniel
   expressed torment over “the uncertainty of whether anyone I was involved in
   kill[ing] or captur[ing] was a civilian or not.” He was equally troubled by the
   fact that, during one particular time period, nearly 90 percent of those killed
   by drone strikes were not the intended target -- and nearly half of the
   database of terrorist suspects had no recognized terrorist group affiliation.

   Daniel is principled, pensive, selfless, and has a strong moral conscience. I
   think he finds himself in the present circumstances because of an over-
   abundance of these traits. I also know that in Espionage Act cases, intent can
   only be considered at the sentencing phase. Daniel’s intent was well-
   meaning. He did not disclose information for fame, profit, or revenge. He
   did so because he believed it was in the public’s interest to know that the
   government was using an overly broad terrorist watch-list for lethal
   targeting, underreporting civilian drone casualties, and overstating the
   surgical precision of drone strikes -- all concerns that were later documented
   and validated by civil liberties and human rights groups including the
   ACLU, Amnesty International, and the Center for Constitutional Rights.

   Please know that whatever sentence you decide upon will pale in
   comparison to the self-recrimination with which Daniel lives and will bear
   the rest of his life. I urge your mercy.
   Sincerely,




   Jesselyn Radack, Esq.

   Washington, D.C. 20016
                         @gmail.com




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                                                                                                              Janet Tran

                                                                                                 Washington, DC 20009

                                                                                                            @gmail.com

Tuesday, June 29, 2021



The Honorable Liam O’Grady
U.S. District Senior Judge

U.S. District Court for the Eastern District of Virginia
Albert V. Bryan U.S. Courthouse
401 Courthouse Square
Alexandria, VA 22314



Dear Judge O’Grady,

       My name is Janet Tran, and I am a 28-year-old woman originally from Philadelphia, PA. I am currently living in
Washington, DC, where I work as an engineer in the architecture and construction field. I am writing to you on behalf
of Daniel Everette Hale to attest to his character. Contrary to the impression one might receive from examining only
the State’s case against him, my own personal knowledge of the man convinces me that none of the actions for which
he has been charged and pleaded guilty derived from a place of malice. That point is central to what I hope to convey.

       In the autumn of 2020, Mr. Hale and I connected on a dating app and subsequently developed a romantic
connection that lasted for several months thereafter. At present, though the circumstances surrounding his
incarceration and sentencing have made the continuation of this romantic connection untenable, I have remained a
supportive friend. We have maintained regular contact since his arrest on April 28, 2021.

        Daniel Hale comes from a modest working-class background in Bristol, Tennessee. He is the eldest of three
with a younger brother and sister. His father worked in the transportation industry driving semi-trucks, which resulted
in his absence from the family for days to weeks on end. His parents struggled financially to raise all three children and
Daniel was sent to live with his grandmother for extended periods of time. Over the years Daniel has become estranged
from his family mainly due to his father’s emotional abuse.

        It is no novel narrative that a young man with limited economic opportunity joins the United States military. When
Daniel joined the U.S. Air Force, it was out of financial desperation. When he thereafter deployed to Afghanistan, he
had to face realities that most American civilians never have to consider and which Daniel – in an ideal world – would
have never sought to confront. Since the day that he left Afghanistan, he has struggled to reconcile his participation in
war. He is a man with a deep moral grounding and respect for human life, which explains his participation in civic
organizations such as Veterans for Peace and About Face: Veterans Against The War as well as his activism fighting
for the human rights of all people.

       Because of the value he places on all human life, irrespective of nationality, Daniel bears a heavy burden of guilt
for having seen and inflicted death and destruction. Daniel does not view himself as a hero despite the way in which
some of his supporters and well-wishers choose to portray him. He is facing federal criminal charges as a consequence
of both circumstance and conscience. He committed a crime under the Espionage Act to which he has confessed.
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However, he is not a traitor, nor is he a spy. He was not motivated by any personal gains, whether they be money or
notoriety. He was motivated by something many veterans who return from war must face: a guilty conscience. The sad
irony of his current situation is that prison is not a new experience for Daniel Hale; in a manner of speaking, has been
a prisoner of his own mind since the day he departed Afghanistan. I recall a moment when he had awoken in the middle
of the night in terror and anger. Daniel Hale lives in a constant state of moral anguish stemming from trauma, stress,
and knowing the reality he is up against; he needs society to help him heal.

        Allow me to give a sense of the ordinary routine of Daniel Hale. Prior to his arrest, he lived with his house mates
Bob Hayes and Rob Wohl and his cat Leila. He is not averse to working and was a cook in Sterling, Virginia. He enjoys
cooking, cleaning, and washing dishes partly because it helps occupy his mind and serves as an escape from his
anxiety. He also enjoyed riding his motorcycle as it was therapeutic for him. He is a skilled mechanic and spent time
fixing his bike when it broke down. However, in October of last year, he got into a car accident and broke his foot,
totaled his motorcycle, and lost his job. He had to rely on others to get around and that was difficult for him. He is an
independent-minded person who struggles to ask for help. In fact, this very letter was completely unbidden by him and
was written by me on the advice of his legal team, with whom I have also been in contact.

        In the time that I have known Daniel I have witnessed his capacity to have compassion for strangers. He is not
someone who is a bystander, in either the figurative of literal sense. For example, I can recall a time when we saw a
stranger picking through the trash searching for any possible scraps of food, which then compelled Daniel to offer this
man money for a meal – this in spite of his own meager financial resources at the time. Furthermore, when he witnessed
the killing of Karon Hylton last October outside his home in Washington, DC he took it upon himself to seek out the
Hylton family’s lawyers to offer a witness statement. And to instance one final display of his compassion, when he was
working at a different restaurant than the one I previously mentioned, he was offered a higher salary than two
employees who were providing equal labor to him. Daniel subsequently proposed to his employer that he would take
a pay cut, so his coworkers could be compensated equally and thus avoid the very economic dislocation that he has
known only too well.

        It would be a tragedy for the soul of America to neglect to treat Daniel Hale with compassion in the way he
willingly did for so many. I simply ask that you have mercy.


Sincerely,




Janet Tran
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and advocate of truth in the American discourse. We must not punish a man for the very qualities
that exemplify the American mythos.

Please do not hesitate to contact me if you should require any further information.

Sincerely,

Brad White




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The Honorable Liam O’Grady
United States District Judge
United States District Court for the Eastern District of Virginia

Dear Judge O’Grady,

My name is Jessica Bass and I am a second grade teacher in Knoxville, Tennessee.
Daniel Hale is a close friend and former roommate of my oldest and dearest friend. I am
writing this letter to respectfully request leniency in Daniel’s case.

Personally, I have met Daniel only a handful of times. However, that was enough to get
a strong impression of him. When he first began living with my friend, they did not know
each other well. However, that did not stop Daniel from helping and caring for his new
roommate. They became fast friends. They were both living in Bristol, Tennessee at the
time while I lived two hours away. Although that is not an insurmountable distance, it
does keep me from being available to my friend at a moment's notice. That is hard in a
friendship when you know a friend needs you. Daniel was there for her when I could not
be and I am grateful to him. This is just a small example of the caring person I know
Daniel to be.

I know it was hard for Daniel to witness what he did during his time in the Air Force. We
all see injustice on a daily basis and most of us do not have the courage or the
conviction to do anything about it. Daniel has that courage and conviction. He knew the
risks involved in his action to speak out, but that did not deter him from speaking out
anyway. I believe this to be an incredibly selfless act. I wonder how many others, myself
included, would risk their freedom to expose injustice and try to save the lives of
strangers.

Daniel has impacted so many lives for the better, including my own. Please consider
this when making your decision.

Sincerely,


Mrs. Jessica Bass
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May 6, 2021


Honorable Liam O’Grady
U.S. District Judge


 Dear Judge O’Grady:
Our names are Drs. Jon and Lynn Darnell. We are writing in reference to Daniel
Hale. We met Daniel at a young age when his family came to our church. I would
estimate that he was in the vicinity of ten years old. Maybe a little older. His
family stayed a few months then were gone for a couple of years. We believe
Daniel was about twelve years old when his family came back to our church and
continued as committed members up to the closing of the church when we
retired a little over a year ago.
Daniel was very quiet and reserved. His younger brother, Ben, was quite the
opposite so Ben got much of the attention. Daniel was very polite, calm, and
followed the rules. All three children attended a youth group that occurred
midweek. Daniel participated and was quick to do anything we asked but was not
one to volunteer anything. We attributed that again to the fact that both his
siblings had outgoing personalities. As the older sibling, Daniel often watched out
for his siblings. We worked hard to develop a relationship with Daniel. We found
out he was interested in music and wanted a violin so we bought him one for his
birthday. It really impacted him and we were able to have longer conversations
with him after that.
We were never able to determine what caused Daniel to be so withdrawn but had
a feeling that something had transpired at an early age, possibly at a time when
he was staying with his paternal grandmother, though we didn’t feel like it was
with his grandmother. We were deeply impressed with Daniel’s maturity and his
deep convictions on right and wrong. His parents were strong Christians and
though his father was a truck driver and out of the home much of the time, he
had taught his children the Bible and strong moral ethics. They are very giving
and caring people, far above average.
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Daniel and his sister Ruth continually impressed us with their maturity and
knowledge of the Scriptures. We witnessed both Ruth and Daniel make decisions
in their own lives that were quality decisions. Neither of them were likely to
follow the crowd. Both had jobs and plans for a solid future long before their
peers were thinking about those things. We expected both to do well in life.
Daniel left home when he graduated and we have not seen him since. We did
keep up with him through his family. Everything we heard made us proud of the
man he grew to be. We were shocked when we heard of the current issue but we
both believe that Daniel would have had to have extremely strong convictions
that he was doing the right thing or he would never have broken the law.
We hope that Daniel will find favor with your honor and he can get his life back on
track.


Sincerely,
Dr. Jon Darnell
Dr. Lynn Darnell
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Honorable Liam O’Grady
US District Judge


June 15, 2021

Dear Judge O’Grady:

         Hello. I am Cynthia M. George, PhD, MSSW, Assistant Professor of Social Work at
Tennessee State University in Nashville, Tennessee. I am writing you today on behalf of Daniel
Everette Hale. I originally heard about Daniel on May 28, 2019 after I had responded to a
request from a friend of mine who was trying to find a foster home for a cat. My friend put me in
touch with a woman named Megan Blevins. When speaking with Megan, she explained that the
pet’s owner was incarcerated and subsequently homeless and very much needed a place for
his cat to stay until he could get stabilized again. I had some reservations and said that I did not
want to get involved if the incarceration was about burglary/robbery/theft, domestic violence,
selling drugs, or something similar that might be dangerous for me. Megan ended up telling me
that the cat’s name was Leila and her owner was Daniel Hale and what he had recently been
arrested for in Nashville. I was not aware of Daniel’s case prior to this, but I did some research
and watched the documentary that discusses his life titled National Bird. After reflecting on
Daniel and Leila’s situation, I decided to contact Megan and agree to take care of Leila until she
could be reunited with Daniel.
         We arranged for Megan to bring Leila to me the next day. Daniel asked if he could come
and meet me in person when Megan dropped Leila off and I agreed. I met them late afternoon
on May 29, 2019. Daniel was very respectful of me and my home, and very gentle with Leila
and I could tell that he loved her very much and that it was very hard for him to leave her with
me. He made sure to leave me with supplies for her along with toys and other things to help her
get settled in with me. We sat and talked for a bit and he explained that his living situation was
very precarious for the time being, but that he was looking for work and while essentially
homeless, he would be remaining in the Nashville area. He asked if he could come by and visit
with Leila from time to time and I agreed. Over that summer, Daniel visited Leila in my home on
several occasions. We did not speak much about what had happened in relation to his military
service or this case; we mostly spoke about cat stuff and just normal chit chat between two
people becoming friends; sharing info about our preferences, childhood experiences, and just
getting to know each other. I am a PhD level Social Worker and people often feel comfortable
talking to me about their issues. Daniel did open up to me about his anxiety and PTSD. It is also
in my nature to do assessments of need and to try and help connect people to services.
However, Daniel really was in limbo, stuck for six years now in a position where he has been
regularly marginalized from housing and employment due to all the stigma related to his arrests
and this case. I was at a loss of any available services to help him and just focused on being his
friend and taking care of Leila. Daniel eventually did get stabilized and came and got Leila in
December of 2019 and took her home with him as soon as he was able to locate housing and
work. Since then, we have stayed in touch and he sends me pictures and videos of Leila. We
have also communicated by mail and phone since he has been detained in Arlington. I plan to
continue to stay in touch to make sure Daniel and Leila have what they need.
         While I did not know him in 2014, I do very much believe that Daniel did what he did
because the information was killing him and he truly believed that, despite how painful knowing
this information was, that the American people also needed to know. This was not for his
personal gain, this was the best thing he thought he could do to protect human beings and
serve the American people. As an American citizen, I DID want to know what was being done in
my name. There are times when we have to hold governments (and their private contractors)
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accountable. This is especially true right now given rapid technology advances. While
developments have allowed us to accomplish many things, they also have created new ethical
and moral landscapes that we are still working to navigate as a human race to ensure justice
through legal practices in this domain. It is my understanding that the information released has
actually led to real US policy changes that improved how drones are managed – meaning
others also recognized the value of knowing this information and it has led to positive
improvements in the world. In my twenty-plus years of professional practice as a Social Worker I
have served populations of people incarcerated and those just released into transitional
housing. Daniel is not the sort of person that needs to be incarcerated.
        I am not sure if you will be getting a letter from Daniel’s mother or not, but it is my
expectation based on what I know of his childhood that you may not. While I have only known
Daniel a short time, please know that I am crying like a mother would as I am typing this letter. I
am constantly worried about him and whether or not he is safe, or if he is cold or sick, or
whether or not he is getting adequate nutrition; and I always worry if Leila is doing okay in her
current foster home and about exactly how long she is going to have to live without her cat-
daddy by her side. I am begging you for leniency to protect this man like he was my son. There
are people that love him and we want him back. Daniel was trying very hard to make decisions
that would break the generational cycles of poverty and crime that haunted his family and Daniel
does not deserve to be incarcerated. Daniel deserves the college education that he ultimately
joined the military to try and achieve. He is quite brilliant and his development has been stunted
enough. His skill set should not be further withheld from the world. Daniel deserves stable
housing, access to nutrition, medical care, and meaningful employment. Daniel also deserves to
be in treatment, and specifically in treatment with a therapist that is in his life to serve his
functional needs and his needs first – meaning not a court appointed psychiatrist or a VA
therapist – but a trained professional that keeps Daniel at the center of all care planning to help
him manage his anxiety and PTSD so that he can achieve basic quality of life. I am also
begging you as foster-cat-mom to Leila to please understand that whatever you decide here
also impacts this innocent cat. Daniel needs to be with Leila, and Leila needs to be with him.
They have a very close bond and taking care of her helps keep Daniel grounded. Cats do truly
experience loss and Leila is very depressed and suffers whenever she is separated from him. I
have provided a picture of Leila from while she was in my care below.
        I understand that you have to follow the law and make a decision here that is consistent
with your ethical and moral core. I hope that you can find a way to show mercy on Daniel and
please do not incarcerate him. I pray that you will find some way to help reunite Daniel and Leila
and help them achieve quality of life. I appreciate your service as a Judge and your
consideration in this matter.

Sincerely,




Cynthia M. George, PhD, MSSW

Goodlettsville, TN 37206
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 From:          Kaylan Kennedy
 To:            Joseph Boyd
 Subject:       Re: Letter of Support
 Date:          Monday, May 31, 2021 11:35:38 AM




 5/31/2021


 Honorable Judge Liam O’Grady,


 My Name is Kaylan Kennedy, I am writing today on the behalf of Daniel Hale in
 regard to his sentencing for leaking classified information to a reporter, seven
 years ago in 2014. I have known Daniel since 2008, I met him through a
 mutual friend Stacy Blevins. We had a romantic relationship for a short period
 during that time frame. Mr. Hale is one of the kindest individuals I have ever
 encountered, I have never met anyone who is as morally driven. Mr. Hale has
 throughout my time knowing him been one of the most empathetic people
 regarding all living beings. He has a soft spot for the less fortunate and
 animals, in particular, and a strong moral compass.


 When I first met Mr. Hale, I was very depressed and he spent time after just
 meeting me playing frisbee in the middle of the night and talking with me, he
 made sure I felt someone was there. It was such a simple gesture most people
 wouldn’t have considered helpful. This is just the type of person he is.


 I believe in my heart Mr. Hale only did what he did because he believed it was
 the right thing to do, I cannot fathom him acting out of malicious intent. I
 sincerely hope you will take Mr. Hale’s character and impact on others into your
 heart during his sentencing.


 Yours sincerely,




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 Kaylan Kennedy, Group and Events Manager
 Tremont Lodge & Resort
                               Townsend, TN 37882
             lodge ~          @tremontlodge.com email
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Honorable Liam O’Grady
U.S. District Judge



Dear, Judge O’Grady:

 Hello, my name is Subin Kim and I am currently a 25-year-old male. I am employed at a local pizza
restaurant and have worked with Daniel Hale. I have known Daniel for about a year or so, but I have also
worked with him often. Daniel was a very interesting guy. We would often have conversations about his
regret of missing casual civilian life during his “prime years,” yet he was proud that he served his nation.
He was very passionate about activism and how he loved to show his support for a just cause. He was an
ordinary, relaxed guy who just wanted to live how he wanted. Obviously, I didn’t know him as well as
many others who he has impacted. However, I know he liked video games, exercising, his little outdoor
cat whom he adored, and eating great food. I don’t know anything about most of his previous years
aside from when he has worked with me. With that said, I believe that Daniel was a super nice guy with
great values and he had a genuine heart of gold. He cared immensely for the things that were close to
his heart. He loved to mess around and interact with others. Often he had walls up, so he was also
prickly in a sense. However, once you’re past all of his defense mechanisms, he was what the definition
of caring could be. Whether what he did or did not do was right or wrong, that is not my place to say for
obvious reasons. However, I do believe that Daniel is not dangerous to society, nor would he ever hurt
others. He was a great person in society and never sought the downfall of others. I hope he gets a light
sentencing and has a bright future where he truly finds happiness, peace, and love.



                                                                          Sincerely,

                                                                             Subin Kim
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 From:                 stuart roche
 To:                   Joseph Boyd
 Subject:              Letter for daniel hale
 Date:                 Monday, June 28, 2021 7:13:23 PM


 To whom it may concern.

 I met Daniel Hale a little over three years ago. He worked for a restaurant I was managing and we became friends. We have
 remained close friends after he left the company to work at another restaurant. Daniel Hale is one of those genuinely good people.
 He has a strong morale compass. He also has remained humble, that showed through the care and seriousness he took his job as dish
 washer. I know him to be sweet natured person and I have trusted him to care for my disabled dog  while I have been away from
 home. I completely believe Daniel is a person who contributes to his community and his absence has been felt throughout many
 community’s across the u.s.
 Sincerely,
 Stuart Roche
